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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



  FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                       Case No. 1:20-cv-03590-JEB
               v.

  FACEBOOK, INC.,

                    Defendant.


           SUPPLEMENTAL CORPORATE DISCLOSURE STATEMENT OF
           DEFENDANT META PLATFORMS, INC. F/K/A FACEBOOK, INC.

       I, the undersigned counsel of record for Meta Platforms, Inc. (f/k/a Facebook, Inc.)

(“Meta”), certify that to the best of my knowledge and belief, Meta has no parent corporation and

that to its knowledge, no publicly held corporation owns 10% or more of its stock. Facebook,

Inc. changed its name to Meta Platforms, Inc., effective October 28, 2021.

       These representations are made in order that judges of this Court may determine the need

for recusal.

                                            Respectfully submitted,


January 24, 2022                            /s/ Mark C. Hansen
                                            Mark C. Hansen (D.C. Bar No. 425930)
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                                            (f/k/a Facebook, Inc.)
